     Case 5:18-po-62343 Document 4 Filed in TXSD on 07/09/18 Page 1 of 1
                                                                           United States District Court
                                                                             Southern District of Texas
                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS                               ENTERED
                            LAREDO DIVISION                                     July 09, 2018
                                                                             David J. Bradley, Clerk

UNITED STATES OF AMERICA
                    Plaintiff

v.                                             Case No.: 5:18−po−62343
                                               Magistrate Judge Diana Song Quiroga
Feliciano Macario−Morales
                        Defendant



                                    JUDGMENT

      On July 9, 2018, the above named defendant appeared in person and with
counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally at a place other than as designated by the immigration officers,
in violation of 8 U.S.C. 1325(a)(1), as charged in the Criminal Complaint; and the
Court having asked the defendant whether he/she had anything to say why judgment
should not be pronounced, and no sufficient cause to the contrary being shown or
appearing to the Court;
      IT IS ADJUDGED that the defendant is guilty as charged and convicted.
      The defendant is hereby sentenced to time served.
      A $10.00 cost assessment is imposed.
      DONE at Laredo, Texas, on July 9, 2018.
